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Richard A. Berg, M.D.

Suite 260; 2700 Quarry Lake Drive; Baltimore, Md. 21209
Telephone 410-585-2860; Facsimile 410-585-2862

Karen E. Evans, Esq.
The Cochran Firm; 1100 New York Avenue, N.W.
Suite 340; West Tower, Washington, D.C. 2005
Re: HW v Children’s National Medical Center and USA
Dear Ms. Evans:

Thank you for sending me records regarding HW, deceased. I have reviewed the following:

Medical records and data

Children’s National Medical Center ER visits: 4/2/13-10/4/14

Children’s National Medical Center Admission: 10/4/14-10/5/14

Unity Health Care Clinic Visits: 10/6/10-9/19/14

CNMC Labs

D.C. Medical Examiner’s Office Autopsy Report and Amended Autopsy report and
photographs

6. CNMC Urine Culture and Sensitivities Report dated 8/ 08/2013

7. DC Fire and EMS records; 5/17/2014,9/23/2014, 10/3/2014

8. MedStar Georgetown Surgical Consult Report 1/25/2017

9. Answers to Interrogatories from USA dated March 6, 2019

10. DC DOH and CDC Fact sheet Reported STDs in the United States 2013

11. DC DOH and CDC Fact sheet Reported STDs in the United States 2012

12. CNMC policy: “HIV Screening in the Emergency Department February 20 2014 EMTC PC
13. CNMC’S POSITION PAPER dated 9/10/2018

14. HAHFTA Form from DC DOH

15. CDC - STD Treatment Guidelines December 17, 2010

a ee

Depositions received or reviewed:

Please see attached listing of depositions

Medical literature:

1. Starting antiretroviral treatment early improves outcomes for HIV-infected individuals,
National Institute of Allergy and Infectious Diseases (NIAID), May 27, 2015 New
Release; https://www.nih.gov/news-events/news-releases/starting-antiretroviral-
treatment-early-improves-outcomes-hiv-infected-individuals

2. The Centers for Disease Control and Prevention (CDC) updated recommendations for
HIV testing by laboratories in the United States, June 26th, 2014

PLAINTIFF’S
EXHIBIT

EAS
16.

17.

18.
19.

20.

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How to Recognize and Treat Acute HIV Syndrome,

Am Fam Physician. 1999 Aug 1;60(2):535-542.
https://www.aafp.org/afp/1999/0801/p535.html

The Systemic Inflammatory Response Syndrome (SIRS) in acutely hospitalized medical
patients: a cohort study, Scand J Trauma Resusc Emerg Med. 2009; 17: 67.,

Published online 2009 Dec 27. doi: 10.1186/1757-7241-17-67
http://www.jrheum.org/content/36/3/655 Review of deaths from syphilis.

http://i-base.info/guides/testing/what-is-the-window-period Time for serology to turn
positive (window period)

https://www.fda.gov/vaccines-blood-bi ologics/approved-blood-products/information-
regarding-oraquick-home-hiv-test

https://www.catie.ca/en/fact-sheets/testing/hiv-testing-technologies Insti HIV test

https://www.whitehatcom.com/Alere/HIV_Update_R_Benavides_112618.pdf Review of
multiple tests and algorithm

. https://link.springer.com/article/10.1007%2Fs10067-010-1668-z

. https://www.cdc.gov/std/stats14/syphilis.htm Links with syphilis statistics for 2014 as well
. DC DOH and CDC Fact sheet Reported STDs in the United States 2013

. DC DOH and CDC Fact sheet Reported STDs in the United States 2012

. CDC 2010 STD Treatment Guidelines

_ Centers for Disease Control and Prevention Sexually Transmitted Disease Treatment

Guidelines, Kimberly A. Workowski, Stuart M. Berman, Clinical Infectious Diseases,
Volume 53, Issue suppl_3, 15 December 2011, Pages S59— S63,
https://doi.org/10.1093/cid/cir694

District of Columbia, Department of Health HIV/AIDS, Hepatitis, STD, and TB
Administration (HAHSTA). 2012 Annual Epidemiology & Surveillance Report, Data
through December 2016.

Brown D. L. & Frank J. E. Diagnosis and management of Syphilis, Am Fam Physician.
2003 Jul 15; 68(2):283—290 (2003).

https://www.cdc.govw/std/syphilis2012/DC12.pdf

Tindall, B. , Swanson, C. , Cooper, D. A. and Donovan, B. (1989), Sexual practices and
condom usage in a cohort of homosexual men in relation to human immunodeficiency
virus status (for editorial comment, see page 305; see also pages 309 and 314). Medical
Journal of Australia, 151: 318-322. doi:10.5694/j.1326-5377.1989.tb128469.x

Poster #565: Estimated time from HIV infection to earliest detection for 4 FDA approved
Point of Care tests, Stekler

My Educational Background and Experience:

I am a board certified internist and board certified infectious disease specialist. My curriculum
vitae and fee schedule are attached. I am a graduate of Williams College and Cornell University
Medical School. I was an intern at Johns Hopkins Hospital and completed a residency at Barnes
Hospital in St. Louis, Mo. Thereafter I was an LCI/NIAID clinical and research fellowship
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program for those interested in pursuing academic careers in infectious diseases. I am a member
if the Infectious Disease Society of America. I have been honored over the years to be listed
among Baltimore Magazine Top Doctors and recognized by Town & Country Magazine (2000)
Best Internists of America. I have been in the private practice of medicine since 1980 and my
practice includes Infectious Disease and Internal Medicine. I will offer opinions based upon my
education, training, experience and knowledge of any relevant literature and my review of HW’s
medical records and other discovery materials produced in this case.

Summary of Events:

HW was born in 1997. He initially presented to Unity Health Care Clinic, at age 13 years, on
10/6/10, complaining of blood in his urine and a burning sensation, with urinary frequency. He
was evaluated by Abayomi Hendje, M.D., who diagnosed HW with a urinary tract infection
(UTI). Dr. Hendje prescribed an oral antibiotic (Macrobid.)

HW presented again to Unity Health Care Clinic on 7/23/12, giving a history of sexual activity
with females and requesting STD testing. He was seen by Andre Douglas, NP. HW denied
symptoms, but “Just wants to make sure he is clear.” An HIV “Rapid test - oral swab” test was
done and was negative. Chlamydia and gonorrhea tests were likewise negative.

On 3/19/13, HW presented again to Unity Health Care Clinic giving a history of high risk sexual
activity — male having sex with males - MSM. HIV testing was done on 7/23/12 and 9/10/14 by
Unity providers. However, no syphilis testing was done on 3/19/13. In fact, no syphilis testing
was ever done by any of the Unity Health Care providers, despite HW’s continued reporting of
being MSM, and despite his subsequent history of having a diffuse rash, throat pain, fevers,
severe headaches, and abdominal pain. Evidently, no plans were made by Unity for periodic
syphilis and other STD testing, despite HW’s repeatedly documented history of being MSM.

On 4/2/13, HW presented to the CNMC ER, complaining of a diffuse rash. No sexual history
was taken. HW was diagnosed with an allergic reaction, given oral Benadryl, and discharge
instructions included to follow up with “Yousuf Dawood, M.D.”

HW presented again to the Children’s National Medical Center ER (CNMC ER) on 8/5/13,
complaining of abdominal pain; he was hyperventilating (respiratory rate in ER of 36), he was
also noted to be febrile at 102 degrees F in the ER, tachycardia of 119, and provider Sophia
Smith, M.D. noted he had dysuria. He also had not been able to move his bowels, despite being
given a laxative, per his mother’s report. Dr. Smith diagnosed HW with abdominal pain,
constipation, and a UTI and sent a culture of his urine. Dr. Smith noted that she would give
HW’s mother a prescription for an antibiotic (Cipro) to “hold”, noting that she “will call and let
her know if culture positive.” The urine culture revealed growth of enterococcus faecalis. There
is no documentation that Dr. Smith notified HW’s mother of this positive urine culture.

HW again presented to the CNMC ER on 5/17/14, at age 17 years old, with abdominal pain,
constipation, anxious and hyperventilating. The abdominal pain was diffuse right upper
quadrant and right lower quadrant pain. He complained of not being able to have a bowel
movement in over a week. Provider Moshen Saidinejad, M.D. evaluated HW on this date. HW’s
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social history was documented as “Not significant.” HW was given enemas and a laxative. No
accurate history was ever elicited by the CNMC ER providers regarding HW’s ongoing high risk
sexual activity.

This young man returned to the same emergency room on 9/21/14 with 3 days of headache,
abdominal pain, sore throat, pain with eating, and fever. He was seen by James Martin, M.D.,
who noted complaints of headache, fever, throat pain, abdominal pain. Social history was listed
as “Not significant.” On exam, his throat was erythematous, with 2-3 plus tonsils with exudate,
and mild submandibular lymphadenopathy. Rapid strep test was negative. He was felt to have
streptococcal pharyngitis based on the history of fever, pharyngeal appearance and exudates,
and was given oral penicillin V K 500mg po BID times 10 days. No throat culture was sent,
despite the Lab Report recommendation to perform one when the streptococcal screen is
negative. Had HW been admitted to the hospital on 9/21/14, and a thorough work-up been
initiated, his syphilis infection and his acute HIV retroviral syndrome, caused by HIV infection,
would have been diagnosed, appropriate treatments would have been given, and HW would have
survived.

HW was brought once again to the CNMC ER via ambulance early on the morning of 9/23/14,
two days after his recent 9/21/14 ER visit. He complained of a frontal, thumping headache times
4 days, and periumbilical, non-radiating abdominal pain. He had taken one dose of the penicillin
VK orally by this time. Now, he had a temperature of 38.5 C (101.3 F.) Dr. Alexandra Cheri
Rucker evaluated HW on this date.

On oral exam, she noted that HW had “3+ tonsils, erythema with exudate and ? ulcer.”

Multiple Labs were ordered, as well as a heterophile antibody screen (test for mononucleosis)
and a repeat streptococcal antigen test was done, both of which were negative. Dr. Rucker noted
that HW’s physician was “Eastern School Based Health Center (Unity).” Mention is made of
no sick contacts, but no social history was taken. Numerous laboratory tests performed were
abnormal; repeat Labs indicated other Lab abnormalities. Dr. Rucker also noted that patient
complained of “dizziness with standing/walking.” Although her differential diagnoses included
meningitis, she wrote that meningitis was “less likely” and took no steps to rule out meningitis or
other viral infections. She gave HW two liters of Normal Saline for dehydration, Reglan IV,
Tylenol, Toradol IV, ibuprofen, and Benadryl, diagnosed him with “migraine”, and discharge
instructions were to follow up with Unity in “two days — 9/25/14.”

Notably, Dr. Rucker did not call any provider at Unity to obtain more information on this 17 year
old male who was febrile, had a “fever of unknown source” (per the discharge papers), had
complained of a headache for four days, had an abnormal physical exam, with a second negative
strep test as well as negative mono test, was dehydrated, and had unexplained abnormal Labs.

Had HW been admitted to the hospital on 9/23/14, and a thorough work-up been initiated, his
syphilis infection and his acute HIV retroviral syndrome, caused by HIV infection, would have
been diagnosed, appropriate treatments would have been given, and HW would have survived.
However, HW was instead discharged home; Dr. Rucker’s discharge papers stated HW was to
follow up with “PCP Yousuf Dawood” as needed.
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HW returned to the CNMC ER for the third time on 9/29/14 complaining of headache, a pain
scale of 8/10, fever for three days, per Triage nurse, with further Triage history of having been
seen at CNMC ER on 9/23/14, with a diagnosis then of “migraines and fever without a source”.
The RN systems assessment noted vomiting two days prior and also complaints of generalized
abdominal pain.

The physician ER provider was listed in the EMR as Moshen Saidinejad, M.D. although Dr
Sophia Smith testified at deposition that she recalled that Dr. Saidinejad asked her to see HW. Dr
Smith testified that she ordered Tylenol 650 mg po STAT. Dr. Saidinejad’s Note states HW had
had “3 episodes of emesis in past 3 days but no fever [sic] or vomiting [sic.].” I did not see any
notes by Dr. Smith.

In the Review of Systems, Dr. Saidinejad documented dizziness, but also wrote “denies fever”,
despite the Triage documentation of “fever x 3 days.” The ER provider again inaccurately wrote
“no vomiting” under GI symptoms. Social history was recorded as being “Not significant.”
There was no mention by Dr. Saidinejad of HW’s previous two CNMC ER visits. On skin
exam, the physician recorded “dry tongue and mucous membranes”, yet in his exam of ear, nose,
mouth and throat, he documented “oral mucosa moist.” HW was started on the migraine
pathway and given a 1,000 cc bolus of normal saline, IV Reglan, IV Toradol, and 650 mg oral
Tylenol. His history of “fever without a source” was not addressed. No Lab tests were ordered
during this third ER visit dated 9/29/14. HW was sent home a third time and told to see the
neurology clinic in follow up, as well as “PCP follow up.”

Had HW’s signs and symptoms been thoroughly evaluated during this third CNMC ER visit
dated 9/29/14, with appropriate Labs, accurate history, appropriate work up and consults, his
syphilis and acute HIV infections would have been diagnosed and treated timely, thus preventing
his death. Instead, he was sent home.

HW returned for the fourth time to the CNMC ER the next day, on 9/30/14, , with complaints
of head and stomach pain for two weeks, fever, and this ER visit was documented to be his
fourth visit for this same episode of illness. At Triage, “pain all over” with a pain scale of 10/10
was noted. He had no fever, but had a respiratory rate of 22/minute. He is listed as taking
penicillin, as in previous visit. The ER physician, Dr. Susan Cohen, recorded 11 days of
headache, constant and course worsening, associated with vomiting but not with fever. It is said
he had diffuse abdominal pain, and fourth visit for this illness. Once again, social history is said
to be “not significant” He had bilateral throat (pharynx) erythema and generalized abdominal
tenderness with moderate guarding. Head CT scan without contrast was normal. HW was
discharged home, for the fourth time, and advised to follow up in the Neurology Clinic in “2-4
weeks.”

He came back to CNMC ER on the afternoon of 10/3/14 after vomiting for two days, in another
visit for the same general symptoms. He was given two fluid boluses; the ER physician was
preparing to discharge HW again; but HW passed out when standing. With abdominal pain, he
could not take anything orally, with moderate diffuse abdominal pain associated with nausea and
vomiting. He had high pitched bowel sounds. As before, his neck was supple. With further
laboratory testing, his white count was elevated at 11,800, and he was admitted with elevated
liver function tests. His creatine kinase was elevated at 473 (normal 46-164.). An oral swab
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(OraSure) for HIV antibodies was positive, which was not divulged to HW that evening of
10/3/14. The decision was made to admit him. Sed Rate done at 23:25 on 10/3/14 was elevated
at 60 (normal 0-10.) While awaiting transport to the main campus for admission on the night of
10/3/14, HW experienced the first of numerous episodes of muscle stiffening associated with
tachycardia and severe pain.

On admission, his mother reported temperature had gone as high as 102 F., and her son had been
increasingly weak with dizziness, headache and intermittent substernal chest pain. With
admission, he had elevated transaminitis, hypoalbuminia, hypocalcemia and a faintly positive
OraSure rapid HIV test and confirmed with a positive ELISA HIV test. He was questioned in
private regarding his social history, he denied being sexually active, denied drug use and denied
ethanol use. He did note that he was tested for HIV and STD’s in school two weeks earlier, and
the results had been negative. It was assumed that HW’s muscle spasms and tachycardia were
due to HW experiencing a conversion disorder due to his being tested for HIV two weeks prior at
school, which was not an accurate assumption.

He also continued having severe headache and abdominal pain during his admission. He was
given no narcotics whatsoever for his pain after 10/3/14 at 21:18 on the night of 10/3/14. On
10/4/14 he was incontinent several times.

Repeat Labs done at 01:01 on the morning of 10/5/14, but apparently not available as of the time
of his Code, revealed a WBC of 26.96, Bands 16%, percent Segs low at 30%, 27% Reactive
Lymphs, and Sed Rate of 127 (normal 0-20.) His creatine kinase had also risen further to 1399
(normal 34-147 in CNMC main campus lab.) This high creatine kinase is evidence of
rhabdomyolysis, a very painful condition, which was most likely caused by his untreated
infection.

Early on the morning of 10/5/14, this 17 year old young man had acute apnea, unresponsiveness,
bradycardia, then wide complex rhythm, eventually PEA, and died. Postmortem syphilis
serology (RPR) was 64 and 128, confirmed by florescent treponemal antibody IgG. His HIV
viral load was greater than 10,000,000 copies.

The District of Columbia Medical Examiner amended autopsy listed cause of death as sudden
death due to myocarditis and cerebral vasculitis complicating syphilis, with human
immunodeficiency virus as a contributing cause of death. The histology revealed the following:

HEART: patchy perivascular mixed chronic inflammation, slight to moderate; focal
interstitial myocarditis, slight

LUNG: Diffuse Vascular Congestion, moderate to marked

LIVER: Diffuse Vascular Congestion, slight with focal chronic triaditis...

BRAIN: Patchy vascular mixed chronic inflammation (lymphoplasmactic), moderate

involving the small and medium vessels-focal arachonoid involvement. Special
stains focal positive for spirochetes. Control stains satisfactory.

I believe violations of the standard of care by CNMC and Unity Health directly led to HW’s
untimely death from syphilitic angiitis in the setting of an acute retroviral syndrome from HIV
infection and its sequella. Neurosyphilis can occur in any stage of syphilis. Absent the
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negligence of CNMC and Unity Health, HW would have been timely and appropriately tested,
diagnosed and treated, and his life expectancy would have been normal.

In my opinion, HW’s acute illness for which he was seen at Unity Health and CNMC Emergency
Department in September 2014 and on October 3, 4, 2014, was consistent with the acute
retroviral syndrome (ARS) due to recently acquired HIV infection in a setting of Syphilis. It is
my opinion that the Unity Health and CNMC ED’s failure to treat HW’s dual infections of HIV
and syphilis contributed to HW’s acute illness and death.

I believe HW likely acquired HIV in August of 2014 and certainly after May 2014, given the
negative point of care tests on 5/17/2014 and September 10, 2014, faintly positive HIV oral swab
on 10/3/2013 and HIV confirmatory test results thereafter.

Most likely, HW had exposure to and became infected with syphilis in 2013 or 2014, but was
never tested until just before his untimely death. This is supported by HW’s 2013 medical history
of MSM, visits to CNMC for a rash, then UTI caused by enterococcus faecalis in his urine, etc.
In 2014, HW was found to be positive for Syphilis (syphilis serology (RPR) was 64 and 128,
confirmed by florescent treponemal antibody IgG). These serology results indicate that HW had
syphilis for 30+ days prior to dates of the RPR and confirmatory testing.

It is also my opinion that HW’s headaches, abdominal pain, dehydration, off and on fevers, liver
damage, abnormal EKG findings, abnormal liver function tests, painful shaking of his legs and
arms, low glucose, elevated white blood cell count, abnormal potassium levels, bradycardia,
cardiac arrest, pain, suffering, fear, anxiety he experienced during the last few weeks of his life,
including during his admission to CNMC, were the result of the failures of care by the doctors
and nurse practitioners who were responsible for HW’s care in 2013 and 2014. HW was not able
to be successfully resuscitated when he coded because he was severely acidotic, hypoglycemic,
and hyperkalemic which was not discovered and treated timely because the lab results were not
initially available.

Syphilis and HIV are both treatable diseases. Sexually transmitted infections (STIs) cause
significant morbidity and mortality in the United States annually. Half of the 19 million new
annual infections occur in persons 15 to 24 years of age. The United States Preventive Services
Task Force has stated men at increased risk ought to be screened routinely for syphilis and for
HIV, because both diseases can be treated effectively with chemotherapeutic agents, avoiding
mortality and reducing morbidity (http://www.uspreventiveservicestaskforce.org and Ann Fam
Med, 2004 Jul; 2(4): 362-365). It then becomes most important to question adolescents and
young adults about their sexual history and the risk of that behavior.

Taking a sexual history is an important part of any encounter with an adolescent, since as many
as 1 in 4 teens may have an STI. This history helps to identify what anatomic sites to screen and
educates these young people about how to make more informed decisions about their sexual
activities. Dr. Gail Bolan has written about this in Medscape as Director of the Division of
Sexually Transmitted Disease Prevention at the Centers for Disease Control and Prevention.
HW was never questioned effectively about his social and sexual history, including any contacts
that he may have had, leading to evaluation for HIV and syphilis.
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(http://www.medscape.com/viewarticle/743130) Dr. Bolan writes that when taking a teen’s
sexual history, it is important to speak to the parent and teen together, setting expectations, speak
to the teen privately, reinforce confidentially to allow the teen to disclose sensitive information,
avoid assumptions about patient sexual proclivity or partners, remain nonjudgmental, be concrete
and specific and describe how screening tests will be delivered. HW was not interviewed until
the day before he died, at a time when he was likely already not competent mentally. For any
teenager with progressive, unusual, undiagnosed, potentially infectious illness, leading to
multiple emergency room encounters, inquiry into sexual history is important. Had appropriate
treatment been provided to HW, more likely than not, he would have been successfully treated
for syphilis and HIV; HW would have avoided the complications that developed due to lack of
treatment. Specifically, he would have avoided progressive syphilitic angiitis, myocarditis,
encephalitis/headache, and the metabolic derangements which in turn contributed to his cardiac
arrest and contributed to the inability to resuscitate HW when he coded. I hold each of these
Opinions to a high degree of medical probability.

There were multiple missed opportunities to have diagnosed his syphilis infection. Diagnosis
and treatment of syphilis would have killed existing Treponema pallidum, the bacteria which
causes syphilis and stopped replication of Treponema pallidum, reduced the potential for disease
progression, and rendered him non-infectious to others. His symptoms from syphilitic angiitis
and resulting complications which contributed to his death likely would have been avoided had
he been treated for syphilis. There are numerous publications regarding the rapid efficacy of
penicillin therapy for syphilis in HIV positive patients. (Journal of Infectious Diseases 1991:
163: 1201-1206; the New England Journal of Medicine 1997; 337: 307-314; New England
Journal of Medicine 331; 1469-1473; New England Journal of Medicine 1994; 331: 1516-1517.)
Likewise, there were missed opportunities to treat the HW’s symptoms, monitor his laboratory
findings and treating for dehydration, hypoglycemia, hyperkalemia, acidosis etc. However, HW
was never treated for syphilis or acute HIV. Without treatment, he had no opportunity to survive
these infectious diseases and the resultant complications.

I believe that the CNMC providers failed to recognize the severity of HW’s condition in
September and 10/3/2014 and 10/4-5/2014, which delayed escalation of care which contributed
to the missed diagnosis and missed opportunities to treat HW resulting in his death. Had an
infectious disease consultant, been called appropriate treatment would have been rendered based
upon the laboratory data and HW’s condition. He would have been treated for pain. He would
have been monitored with appropriate laboratory testing and LP, as indicated performed. He
would have received supportive treatment to address the infections, including Benzathine PCN,
by injection. Benzathine PCN is not available as a pill, or my mouth. An infectious disease
consultant would have included ARS and STDs on the differential diagnosis and HW would
have been tested for Syphilis and HIV. The delay in the escalation of care led to worsening of
HW’s clinical condition, including metabolic derangements, ultimately leading to severe
hypoglycemia, severe acidosis, hyperkalemia, hypocalcemia, the code event, and his death on
October 5, 2014.

The records from 10/3/2014 and 10/4/2014 reveal that HW’s pain was not appropriately or
sufficiently treated with the NSAID, Toradol. CNMC doctors ordered Valium and Ativan
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instead, which would not alleviate or treat HW’s pain and caused HW to unnecessarily
experience pain and suffer needlessly. HW did not have a conversion disorder in my opinion.

In my opinion, HW death was preventable and unnecessary. With timely diagnosis and
treatment, he would be alive today.

I hold all opinions expressed in this report with a reasonable degree of medical certainty.

Sincerely,

Khe g a

Richard A. Berg, M.D.
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Deposition transcripts and Deposition Excerpts Received

Eiman Abdulraham, M.D.

Gillian Abrams, M.D.

Erin Augustine, M.D.

Kumasi Chad Baraka Wilson (Children’s National Medical Center corporate designee)
Joanna Cohen, M.D.

Rajesh Daftary, M.D.

Gabrina Dixon, M.D.

Rachelle El Helou, M.D.

Robert Felter, M.D.

. Kathleen Ferrer, M.D.

. Meredith Gibson, MSN, APRN, CPNP-PC

. Morgan Greenfield, M.D.

. James Martin, M.D.

. Dulcie Miller (Children’s National Medical Center corporate designee)
. Sephora Morrison, M.D. (Children’s National Medical Center corporate designee)
. Sephora Morrison, M.D. (individually)

. Alexandra Rucker, M.D.

. Moshen Saidinejad, M.D.

. Fareed Saleh, M.D.

. Sophia Smith, M.D.

. Joanna Tylak, M.D.
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22. Angela Wratney, M.D.
23. Jane Crowder

24. Vincent Crowder

25. Link L. Davis, II

26. Samari Douglas

27. Kourtney Johnson-King
28. Paul Pearson

29. Shontae Pearson

30. Sakeena Pernell

31. Emest L. Price

32. Shantielle Thomas (EMS responder)
33. Jalil Williams

34, Monique Williams

35. De’Aria Young

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Cirriculum Vitae

Richard A. Berg, M.D.

Birthplace: Gettysburg, Pennsylvania

Home Address: P.O. Box 273
Stevenson, Md. 21153-0273

Office Address: Suite 260; 2700 Quarry Lake Drive; Baltimore, Md. 21209
Office Telephone & Fax: 410-585-2860; 410-585-2862

Office e-mail: drsbergwen@gmail.com

Marital Status: Married to Julia Y, Wen, M.D. 6/28/78

Children: Edward Berg,
Alice Berg

Citizenship: U.S, Citizen

Education: 1964-1967 Deerfield Academy, Deerfield, Mass.
1967-1971 B.A., Williams College, Williamstown, Mass.
1971-1975 M.D. Cornell University Medical School, N.Y.C., N.Y.
1975-1976 Medical intern, Johns Hopkins, Baltimore, Md.
1976-1977 Medical resident, Barnes Hospital, St, Louis, Mo.
1977-1980 Fellow LCI/NIAID, NIH, Bethesda, Md.

Boards: Internal Medicine, 1978
Infectious Diseases, 1980

Honors: Golden Apple, Sinai Hospital of Baltimore, 1983
Top Doctors, Baltimore Magazine, 1997, 2000, 2003, 2005, 2007, 2010
Best Internists of America, Town & Country Magazine, 2000

Societies: Infectious Disease Society of America

Present Position: 1980 — Present, Private practice in Baltimore, Md.
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Current Hospital Affiliations: Sinai Hospital of Baltimore
Licensure: Maryland, since 1978

Board Certified: American Board of Internal Medicine for both Internal Medicine (1978)
and for Infectious Diseases (1980)

Publications:

1, Corynebacterium equi Infection complicating neoplastic disease, Am.J.Clin.Path.,
July 1977, 73-77.

2. Detection of Candida antigen in the sera of patients with Candidiasis by an ELISA
inhibition technique, J.Clin.Micro., July, 1979, 116-120.

3, Enzyme-linked immunoassay (ELISA) for connective tissue components,
Anal.Biochem, May, 1980, 205-214.

4, New enzyme immunoassays for measurement of Influenza A/Victoria/3/75 virus in
nasal washes, Lancet, April, 1980, 851-853.

5. Fluorometric assay for measurement of viral neuraminidase—application to the
rapid detection of Influenza virus in nasal wash specimens, J.Inf.Dis., October,
1980, 516-523.

6. Use of ELISA inhibition techniques for typing Streptococcus pneumoniae,
J.Cl.in.Micro.

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